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Exhibit 92
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From:
Sent: Thursday, August 10, 2017 3:59 PM
To: Dietrich, John W.; Hyslop, Robert
Cc:
Subject: FW:                          : 10 AUG 2017,              /Notification#1

John and Rob,

Another FSF, crew fatigue issue.

Regards




From:
Sent: Thursday, August 10, 2017 3:43 PM
Cc:
Subject:                        : 10 AUG 2017,                /Notification#1
Case 1:17-cv-01953-RDM Document 5-95 Filed 09/25/17 Page 3 of 4
Case 1:17-cv-01953-RDM Document 5-95 Filed 09/25/17 Page 4 of 4
